     Case 2:25-cv-00053-FMO-BFM          Document 83-12     Filed 04/06/25     Page 1 of 57 Page
                                              ID #:4046


1     Marc Wolstenholme
      5 Shetland Close
2
      Coventry, England CV5 7LS
3     Telephone: 044 7827964404
      Email: marc@mwwolf-fiction.co.uk
4     Plaintiff in Pro Per
5                                   UNITED STATES DISTRICT COURT
6
                                   CENTRAL DISTRICT OF CALIFORNIA
7

8

9     MARC WOLSTENHOLME,                             CASE NO. 2:25-CV-00053-FMO-BFM HON.
                Plaintiff,
10    vs.                                            Hon. Fernando M. Olguin
      RIOT GAMES, INC.,
11              Defendant                            DECLARATION OF MARC
12                                                   WOLSTENHOLME

13                                                   EXHIBIT BB: CHRONOLOGY OF
                                                     HARASSMENT, THREATS, AND
14                                                   INTIMIDATION, COUNSEL
                                                     MISCONDUCT.
15
      Dated this: April 06, 2025
16

17                                                 [MARC WOLSTENHOLME]
18

19

20

21

22

23

24

25

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27
                                                 1
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                           MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM               Document 83-12         Filed 04/06/25      Page 2 of 57 Page
                                                   ID #:4047


1
                        Exhibit List
2
                        SECTION I: ONLINE & ANONYMOUS HARASSMENT
3

4                       Exhibit A- Official Complaint- Calls for U.S and Uk Government

5     interventions and protections.
6
                        Complaint made: Thu 6 Mar, 16:27
7

8
                        Official Complaint- Calls for U.S and Uk Government interventions and
9

10    protections.

11                      Dear all,
12
                        I, Marc Wolstenholme, am the plaintiff in four on going cases against Riot
13
      Games, Inc.
14
                        Shortly after a Judge ruled that the cases would be progressing to a Jury trial, I
15

16    received more hate mail, naming Riot’s Solicitors in these proceedings. This email is perceived

17    to be a continuation of intimidation, retaliation and harassment orchestrated by Riot Games.
18

19
                        On 4 Mar 2025, 21:26 (2 days ago), I received Docket 66, SCHEDULING AND
20
      CASE MANAGEMENT ORDER RE: JURY TRIAL from Fernando M. Olguin United States
21

22    District Judge.

23

24
                        Almost an hour later, 22:21 GMT, I received the following email through my
25
      websites online portal.
26

27
                                                          2
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28                                                 MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM             Document 83-12        Filed 04/06/25      Page 3 of 57 Page
                                                 ID #:4048


1

2
                     The email said:
3

4
                     “4 Mar 2025, 22:21 (2 days ago)
5

6                    Sent via form submission from M.W. Wolf’s Megaverse

7                    Email: heyguesswhat@gmill.com, accepts marketing: false
8
                     Message: hey guess what ? I just contacted Aaron J. Moss and Lux and sent them
9
      all the screenshots I had saved of you offering money in exchange of "proof"; which, as you
10
      know since you tried to delete them, is illegal :)”
11

12

13                   I am extremely concerned about their threatening behaviours, retaliation and
14
      ongoing harassment. I will add a chronology of the hate mail I have received.
15
                     Additionally, the creators of Arcane have embedded gaslighting, harassment,
16
      taunting and mocking of me and my brand into Arcane, the material which they are alleged to
17

18    have stolen from Bloodborg.

19                   It’s quite shocking and infuriating for the plaintiff to see his work and his very
20
      sensitive personal trauma writing being misappropriated, violated, gaslighted, abused and
21
      mocked in this methodical manner. This abuse is alleged to be relentlessly infused into Arcane.
22
      If found to be deliberate, given the history of Riot Games and their crimes against women and
23

24    vulnerable people, this shows a patten of deliberately targeting vulnerable people.

25

26

27
                                                       3
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                               MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM             Document 83-12          Filed 04/06/25      Page 4 of 57 Page
                                                 ID #:4049


1                    With the misuse of the trust, and non-sexual grooming of minors working for Riot
2
      as cast members, and using these children to lie about timelines, paying other cast members to
3
      lie, misusing working relationships with agencies to abuse the work of a vulnerable and disabled
4
      person for quid pro quo deals, the sexual harassment of women, the discrimination of thousands
5

6     of women working for Riot Games as found by the class action lawsuit, the targeting of the

7     young independent Ukrainian girl on TeePublic, the persistent misuse of AI and fan art, the data
8
      breaches and personal data concerns, The Tencent and Chinese Military-Civil Fusion concerns,
9
      the growing gacha system and loot box gambling allegations and concerns, the toxic
10
      “bromancing” foundations, allegations of sabotage of a rivals website and stealing of code, the
11

12    data harvesting business model, allegations of adversary spyware in the US and around the

13    globe, privacy and data concerns, what can be described as spurious IP wars, labour disputes,
14
      employee walkouts and forced arbitration clauses, monopolisation allegations, anti-competitive
15
      behaviours, aggressive competitive strategies… and of course, their behaviour toward the
16
      Plaintiff in this case, as well as the hate mail and threats sent to the Plaintiff, including a bomb
17

18    threat, threatening to steal more from him, threatening his daughter and more, the Plaintiff argues

19    that this reflects a broader corporate culture of exploitation, bad faith, lies, and disregard for
20
      ethical business practices.
21
                     The Plaintiff argues that, without CIA or Government interventions and
22
      investigations into Riot Games, people are going to get hurt, and more cases will follow.
23

24                   I would like protective measures to be put in place to protect me during these

25    proceedings and the trial in LA next year.
26

27
                                                        4
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                                MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12        Filed 04/06/25      Page 5 of 57 Page
                                                ID #:4050


1

2

3
                     Comprehensive Table Of evidence - Chronology of Harassment, Threats, and
4
      Intimidation
5

6      Fri, 1 Nov 2024, 03:47          Squarespace <form-submission@squarespace.info>
                smarino@riotelax.com.ar       Dude, you are the most unoriginal and dull
7      author I've ever seen. You even need AI to make your drawings. No wonder you are a
       failure. But trying to put the blame in the actual creatives like Linke o Riot games is
8
       just pathetic.
9      Fri, 1 Nov 2024, 20:10          Squarespace <form-submission@squarespace.info> L-
       bramou@gnail.com.fr I have proof that Fortiche received the first pitch of Arcane on
10     march 2012. That pitch already included the concept of shimmer (it was called
       madness potion), the blood drain, the scene at the bridge with dead parents and
11
       everything you mentioned. Is gonna be fun to watch you get laughed at in the court
12     when there is at least 80 people with emails from 2 years earlier already making
       moves on production ðŸ¤£ðŸ¤£ðŸ¤£ðŸ¤£ðŸ¤£ but seriously go to therapy
13     Fri, 1 Nov 2024, 20:21          Squarespace <form-submission@squarespace.info>
14
                stopspamingthetag@lmao.com            It speaks highly of how mentally ill you
       are that you are seeing your initials on a very stylised drawing of a tooth. Like, every
15     5 years old draws a wolf's tooth like that, are you as delusional and egotistical as to
       believe they are referencing you? Literally everything you mentioned (the color
16     purple, magic potions, blood cults, fucking children running across a ledge) are
17
       extremely common narrative elements in any piece of fiction from the last 60 years.
       Also lambs had been used as a symbol for innocence all across the world from
18     centuries lmao
       Sat, 2 Nov 2024, 01:04          Squarespace <form-submission@squarespace.info>
19              twitterrandom@helloworld.com          Hi, I checked your account because I
20
       saw your posts harassing several voice actor from Arcane, and after a good while
       reading your account and situation I have to conclude that you are either trolling (in
21     which case, you really got me) or you are absolutely deranged. You can't possibly
       believe that using the color purple or having an scene with character climbing a
22     building is plagiarism. How do you intend to prove it to any court? Or is something
23
       that I'm missing?
       Sat, 2 Nov 2024, 04:41          Squarespace <form-submission@squarespace.info>
24              fuckai@gmillll.com Complaining about theft and plagiarism while using ai
       pics is peak hipocresy lmao. Also, it doesn't matter what that little disclaimer says at
25     the bottom, ai images can not be copyright. I'm going to steal all your ai pics and use
26

27
                                                      5
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                              MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12         Filed 04/06/25     Page 6 of 57 Page
                                                ID #:4051


1      it for something else in a big aaa project, or just to sell them by packs in artsation to
       tech you a lesson. Transphobic Racist Loser.
2
       Sat, 2 Nov 2024, 05:46           Squarespace <form-submission@squarespace.info>
3               gobelinsletouzestoryboards@live.com.fr          How much are you offering for
       information about your case against Arcane? I need money secured up front if I'm
4      going to risk my job and breaking a nda
       Fri, 1 Nov 2024, 01:26           Marc Wolstenholme <marc@mwwolf-fiction.co.uk>
5
                copyright, dan.chang, Aaron, Joshua, Copyright         Christian Linke of Riot
6      Games, the guy who stole my manuscript and pretended that he wrote Arcane, is
       essentially condoning murder. The cheek of it as he stole my book, and now he wants
7      people murdered for leaks of stolen IP.
8
       Fri, 1 Nov 2024, 22:05           Marc Wolstenholme <marc@mwwolf-fiction.co.uk>
                me     No additional content provided.
9      Sat, 7 Dec 2024, 13:40           Marc Wolstenholme <marc@mwwolf-fiction.co.uk>
                eurecordkeeper, dan.chang, Joshua, Aaron Please address my complaint, On
10     November the 1st 2024, (Fri 1 Nov, 01:26), I had to make a complaint directly to Riot
11     about Christian Linkeâ€™s conduct of condoning murder on the X platform and
       about him stealing IP. Linke wrote â€œIONO ABOUT YOU ALL BUT I THINK
12     ITâ€™S TIME TO LET FORTICHE BRING BACKâ€¦ THE FRENCH
       GUILLOTINE.â€ This isnâ€™t the conduct of a sensible director of animation.
13     Linke and Yee are only in the positions they are now, not because of merit, but
14     because of the toxic Bro-Mancing culture of Riot Games. The two obsessively call
       everything fight Porn and IP and talk down to everyone and brag about a Nazi-like
15     one mistake policy and pathologically lie and steal, then mask and blame and retaliate
       and lie some more. Itâ€™s so unhealthy that no wonder Riot is in so much trouble. I
16     fear that Riot will bring Fortiche down to their levels of depravity and destroy many
17     French careers as well. Riot are yet to address my complaint about Linkeâ€™s
       conduct and fraudulent crimes.
18     Sat, 2 Nov 2024, 22:07           Squarespace <form-submission@squarespace.info>
                randofromtwitter@bombo.com             dude, seriously, I'm going to say it with
19     the best intentions: you need help. You can not tell me the most generic description of
20     'character descending into a busy dirty city in a fantasy steampunkish setting' is
       something that only you came up with. Are you telling me I cant have fucking coffee
21     stands on my fantasy story? or women with chest bindings? a character climbing
       down a building? the more things you point out, the more ridiculous you sound, and
22     I'm legit trying to help you here because you are about to spend a lot of money. Also
23     you know that description of Zaun has existed since the game came out right? They
       even mention the elevator AND the bar Vi grew up. Also I don't know if you know
24     this but 'The Lanes' is called like that because IS WHAT PART OF THE LEAGUE
       MAP IS CALLED SINCE 2009. for real, look for professional help.
25

26

27
                                                       6
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                              MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM             Document 83-12         Filed 04/06/25      Page 7 of 57 Page
                                                 ID #:4052


1      Sun, 3 Nov 2024, 00:12           Squarespace <form-submission@squarespace.info>
               reallydude@hmail.com             please, video document the whole process!! I
2
       can not wait to see the face of the judge when you try to explain them that Riot
3      Games stole from you huhhhh the concept of a coffee stand, a character describing
       drowning, and the so very original idea of sidewalks. Riot stands no chance.
4      Sun, 3 Nov 2024, 00:22           Squarespace <form-submission@squarespace.info>
               BritianCrownLegalGroup@real.com.uk                Hello, I'm a legal representative
5
       of the Catholic Church, Stephen King and the Entire Biology of the Planet Earth. We
6      are going to sue you for plagiarizing the Lamb as a symbol of innocence, Children
       with White Eyes and of course the use 'a kid growing up' as an event in a story.
7      Sun, 3 Nov 2024, 19:21           Squarespace <form-submission@squarespace.info>
               lapapi5@l.com            Oh this is gonna be so funny to watch. When season 2
8
       releases and gets showered in awards are you going to have an even bigger
9      meltdown?
       Mon, 4 Nov 2024, 22:13           Squarespace <form-submission@squarespace.info>
10             aaaaaaaaaaaaa@lii.com            'knee injury' HOLY FUCK DUDE THATS A
11
       FUCKING KNEE PAD, SOMETHING THAT SHE HAS HAD SINCE EVER, AS
       WELL AS OTHER 912837 VIDEOGAME CHARACTER. You are legit insane.
12     Tue, 5 Nov 2024, 02:03           Squarespace <form-submission@squarespace.info>
               qwerty@aaaa.com          That list you published on twitter is the ultimate proof
13     of your delusions, jesus christ. 'Time is an element of storytelling, spanning great
14     distances.'; 'vowed to unite the gangs'; 'A deserter chased.'; 'Unexpected betrayal';
       'Death of a child.'; 'circular narratives' Like... are you serious?? those very basic
15     literary devices and resources. And all the other things you named are extremely
       common tropes in any fantasy sci-fi setting. Hell, I can count almost all of them in
16     Cyberpunk 2077, or Fallout, or even the fucking Star Wars series, Dune, The Cast of
17     Metabarons... and that's just a couple of examples at the top of my mind. Oh, and of
       course, in the universe of League of Legends. As in, the Runaterra worldbuilding.
18     That has been up since 2009. You can not expect anyone to take you seriously.
       Anyways, when the court kicks your ass, please tell us how much money did you lose
19     so I can laugh harder.
20     Tue, 5 Nov 2024, 05:55           Squarespace <form-submission@squarespace.info>
               himom@com.com            I can already tell you are gonna be the next Chrischan
21     lmao. Please post this comment I wanna be in the +20 minutes youtube essay about
       your derangement. Hi mom.
22
       Tue, 5 Nov 2024, 16:11           Squarespace <form-submission@squarespace.info>
23             lmaot@1.com All bark, no bite. How is the actual legal case coming along?
       Did you initiate the process? I doubt so, because it would be all over the news....
24     unless the court already decided to dismiss it.
       Wed, 6 Nov 2024, 18:33           Squarespace <form-submission@squarespace.info>
25
               interntarriot@game.com           The base position for a Riot artist is currently
26

27
                                                        7
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28                                               MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12        Filed 04/06/25      Page 8 of 57 Page
                                                ID #:4053


1      paying 221,700.00 USD + incentive compensation + equity + 401K with company
       match + medical, dental, vision, and life insurance + short and long-term disability +
2
       open PTO + 6 months severance pay in case of layoffs. Other positions start at 300K
3      annually. If I leave Riot and leak a lot of juicy info to work for you, could you match
       that right now?
4      Sun, 10 Nov 2024, 07:00         15kilosdecocainafina <sender@e9mail.com>
               N/A (External Hate Mail)        "born January 1986
5

6      5 Shetland Close
       Coventry
7      CV5 7LS
8      England

9      cases dismissed against Solihull College 1 for discrimination
10
       https://www.change.org/p/dominic-raab-defund-cafcass-and-redirect-the-funds-to-
11     local-authorities?source_location=decision_maker_profile this one is also yours

12     you have 11 petitions of public information and I already have all my data from it
13
       I will post all your info + your daughter's info if you don't stop annoying the Arcane
14     fans
15
       Stanley Mosk Courthouse
16
       Judge Brazile, Kevin C., case filed on October 31
17
       https://securesha.re?#u=80fe601868dfe6711cb4514574cf175c.bin&p=3HdfaCh23Qn
18
       ZC8hdfmqNC2I_CwviFbRkfpR0KzGB2f0"
19     Sun, 10 Nov 2024, 02:06        Squarespace <form-submission@squarespace.info>
                riotLegalTeamCA@intencent.com.ch             lmao we are just going to bribe
20     the jury ðŸ¤£
21
       Sun, 10 Nov 2024, 05:32        Squarespace <form-submission@squarespace.info>
                setyourselfonfire@asa.com honestly, I didnt give two flying fucks about
22     your crusade against Riot games. But after seeing you all day on arcanetwt
       HARASSING AND SPAMMING FANARTISTS, AND FAN ACCOUNTS now I
23     cant wait for Riot to drag your delulu ass through all the court floor. And I hope they
24
       force you to publicly apologize to all the creators you insulted, And don't even get me
       started on the absolute hypocrisy of complaining about art theft WHILE USING AI.
25     Sun, 10 Nov 2024, 16:07        Squarespace <form-submission@squarespace.info>
                info-check@giik.com Please, take half a second to google your sources so you
26

27
                                                      8
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                              MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM           Document 83-12        Filed 04/06/25     Page 9 of 57 Page
                                               ID #:4054


1      stop being ridiculous. The Ukrainian girl was Kutty Sark, and the DMCA claim was
       not made by Riot per se, it was an automatic flag made by a bot of the site TeePublic.
2
       In fact, Riot themselves contacted the girl AND TeePublic so they would fix the
3      scanning bot and reinstate the design from the girl that TEEPUBLIC was ignoring.
       This kind of misinformation is what makes you lose any credibility.
4      Sun, 10 Nov 2024, 20:26         Squarespace <form-submission@squarespace.info>
                anon_riotlawyer@wewillfuckyouincourt.com             tough luck idiot, we
5
       already got evidence, screenshots and recordings of you offering money for 'proof'
6      Mon, 11 Nov 2024, 23:02         Squarespace <form-submission@squarespace.info>
                twto_mad@lo.ma         you did not seriously say 'Arcane has adapted the
7      stylistic way of using visual aesthetics to mean something else'. That's what every
       fucking show/movie with a modicum of art direction does you dumb fuck. The delulu
8
       is real.
9      Tue, 12 Nov 2024, 00:49         Squarespace <form-submission@squarespace.info>
                hah@haha.com           I'm gonna send a bomb to 5 Shetland Close, Coventry.
10     Tue, 12 Nov 2024, 00:59         Squarespace <form-submission@squarespace.info>
11              gu@akd.com you sexist gringo piece of shit. The art direction of Blood
       Sweat and Tears music video was made by a BLACK WOMAN, who took
12     inspiration FROM HER OWN CULTURE, But here comes the mediocre white man,
       a military colonizer nonetheless, to try to claim African culture. Fuck you.
13     Wed, 13 Nov 2024, 16:35         Squarespace <form-submission@squarespace.info>
14              sÃ±dkkndksk-@mao.com          Lmao. Half the things you mentioned were
       already well-established parts of the League world-building since 2009. The other
15     half are common narrative elements. Absolute delusional behavior.
       Thu, 14 Nov 2024, 17:43         Squarespace <form-submission@squarespace.info>
16
                blm@co.com Comparing your racist, AI-slop vomit with a beautiful piece of
17     art actually created with craft and love by black people is the most entitled piece of
       shit behavior I've seen lately. But what can you expect from a mediocre white gringo
18     man.
       Thu, 14 Nov 2024, 17:57         Squarespace <form-submission@squarespace.info>
19
                ihaveyoursinstagram@a.com Post a public apology to everyone you called
20     cunt or I will make AI porn of your daughters and send it to everyone at their school.
       To your ex too. And I will tell them it's your fault.
21     Fri, 15 Nov 2024, 17:30         Squarespace <form-submission@squarespace.info>
                fuku@cl.com Linke was the first person to admit that when his vision
22
       didnâ€™t work out, he hired people who knew how to handle the situation. So, riddle
23     me this, who do we believe? The top-of-the-notch lineup of REAL artists,
       environmental designers, a professional writers' room, some of the best animators in
24     the industry working alongside some of the most brilliant creative minds with over 20
       years of experience in film and TV production and backed by THE giant of digital
25
       entertainment and a budget of 250 Million USD OR the sore loser who harassed
26

27
                                                     9
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                             MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM             Document 83-12         Filed 04/06/25       Page 10 of 57 Page
                                                 ID #:4055


1      women because they weren't interested in publishing his mediocre book with AI slop
       images and has to pay for a blue Twitter checkmark?
2
       Fri, 15 Nov 2024, 17:55          Squarespace <form-submission@squarespace.info>
3               hop@lom.com The Get Jinxed music video came out in 2013. It already had
       present the elements of Zaun and Piltover, monkey imagery and graffiti, tubes, etc.
4      Warwick has been a champ since 2009, being in the original lineup. Shimmer existed
       since 2009, as part of Singed's character (it was called madness potion before). The
5
       world-building of Zaun and Piltover, and Noxus and Shurima has been there since
6      2010. There are portfolios and pages of artists doing work for world-building in
       Runeterra since 2012. Since you love to eat AI slop I suppose you don't give a single
7      shit about art, but just a month ago Trent Kaniuga, a very well-known artist that has
       worked with Riot, uploaded a video about designing the faction's crest. In that video,
8
       he mentioned that they already had the narrative for Zaun and Piltover since 2012,
9      including the chembarons, houses, and almost everything you say Riot 'copied'. In
       fact, the more fingers you point at League, the more it looks like you are the one
10     plagiarizing them. Your case is dead on arrival.
       Fri, 15 Nov 2024, 18:43          Squarespace <form-submission@squarespace.info>
11
                skyhamster@fromtwotter.com               Hey. I'm one of the (apparently many)
12     CaitVi fanartists that you were spamming. I was about to politely ask you to please
       leave me out of your delusional crusade against Riot and Netflix. Then I saw that you
13     use AI 'art' so instead I'm gonna ask you to go fuck yourself ðŸ˜˜ The fucking
14
       clownery of complaining about art theft while using AI-generated images....
       Sat, 16 Nov 2024, 02:31          Squarespace <form-submission@squarespace.info>
15              ThibautGranet3dArt@live.com              Are you still offering the money? The 10
       grand? I could (anonymously) send you a copy of the Art Direction Bible we used for
16     the show. It's a 136-page document divided into 4 sections (Piltover (general), Zaun
17
       (general), The Lanes, Council). The initial document (that we received) is dated May
       2013 (that one we got on paper, like a zine), and the revised document (a PDF 28
18     pages longer) with examples of the character's texture notes for the 3D rig is from Jan
       2014. I will say, neither you nor your books are referenced anywhere. Do I still get
19     the money? Just tweet yes or no and I will reach out to you.
20     Mon, 18 Nov 2024, 01:25          Squarespace <form-submission@squarespace.info>
                curcat@lce.com          so, just to be clear. If the show is good, they are stealing
21     from you. If it's original, then it's suddenly 'bad'.... ok lmao. Just admit that you are
       jealous because nobody picked up your run-of-the-mill, generic 101 sci-fi book, and
22     for some (I suspect sexist) reason you latched onto hating the one that is actually
23     good and therefore became popular.
       Mon, 18 Nov 2024, 05:34          Squarespace <form-submission@squarespace.info>
24              justcurious@lop.com Have you played Cyberpunk 2077? It has basically
       everything you have described (except for the fake moon). Most of it is in
25     Borderlands too. Did you submit your work to other studios?
26

27
                                                        10
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                                MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM           Document 83-12        Filed 04/06/25      Page 11 of 57 Page
                                               ID #:4056


1      Wed, 20 Nov 2024, 00:39         Squarespace <form-submission@squarespace.info>
               fuckaiart@fucku.com It takes 2 seconds. 2 fucking seconds to google that the
2
       crabs are a reference to the Scuttle Crab, one of the game's creatures. Like almost
3      everything you point out, these things were well established long before your generic
       fantasy book.
4      Wed, 20 Nov 2024, 08:52         Squarespace <form-submission@squarespace.info>
               superfakemail@fromcotsco.com            Sorry, I lost the plot. How on earth did
5
       Riot Games get to your manuscript?
6      Sat, 2 Nov 2024, 19:01          Squarespace <form-submission@squarespace.info>
               lmao@mlao.com           This is why family court took your daughter lmao you
7      are deranged af.
8
       Fri, 22 Nov 2024, 01:33         Squarespace <form-submission@squarespace.info>
               GobelinsAnimator@france.com             The post about 'Arcane did not take 6
9      years to make' proves that you know absolutely nothing about how AAA animation
       works. As a professional animator and Gobelins teacher, it's sad and embarrassing to
10     see other creatives speak ill of a medium they know nothing about. Storyboards alone
11
       can take up to 6 months per episode for a product of such high quality, and that's if
       they hire a highly qualified team (and they did, some of the names on the Arcane
12     credit score are masterminds of the industry). Please, do not spread misinformation
       about our art; it is lowly of any creator to do so.
13     Fri, 22 Nov 2024, 01:37         Squarespace <form-submission@squarespace.info>
14             kevinbrazille@LAcourt.com 'and my writing was pinned to boards and used
       in LA writing rooms and video booths as well as in the storyboard rooms' Do you
15     have any proof? Blatant lying is not well seen in LA courtrooms. In fact, in a legal
       process, it will be considered a criminal offense.
16     Fri, 22 Nov 2024, 12:42         Squarespace <form-submission@squarespace.info>
17             hmliu@vuy.com           Actually, I do think I can't be tracked. I'm not even
       using a VPN and you are so fucking stupid that you set up a spam box lmaoo.
18     Sat, 14 Dec 2024, 15:11         Squarespace <form-submission@squarespace.info>
               yehase6973@datingel.com Have you considered a psychiatrist? Your
19
       follower count is barely in the hundreds and all your art is AI slop. What makes you
20     think theyâ€™d steal from someone who doesnâ€™t have the will to pick up a pencil
       lol.
21     Mon, 23 Dec 2024, 04:31         Squarespace <form-submission@squarespace.info>
               bythedozen@home.com             Lmaoooo your whole 'saga' is literally a rip-off
22
       of Brandon Sanderson's works, without any of the talent, imagination, or good
23     writing.
       Mon, 23 Dec 2024, 22:26         Squarespace <form-submission@squarespace.info>
24             liuofmeat@jmil.com Oh yeah, I'm sure harassing the Arcane fans and siding
       with openly racist people on Twitter will do great for spreading your delusional
25
       messages.
26

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                                                     11
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                              MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM           Document 83-12         Filed 04/06/25      Page 12 of 57 Page
                                               ID #:4057


1      Fri, 27 Dec 2024, 03:57           Squarespace <form-submission@squarespace.info>
                ezc@ma.com Lmaooooo u got restricted on Twitter. Dumb fuck.
2
       Sat, 28 Dec 2024, 15:09           Squarespace <form-submission@squarespace.info>
3               laughin@me.com           Watching you desperately spam the tweets of actual
       talented artists to try to get some clout and getting absolutely ignored, not even half a
4      like AND shadow banned was already hilarious. But it got better when I found out
       that you went to fucking Reddit, (the biggest echo chamber of the internet) to the
5
       Viktormains community, found a forum with 20K people who were incredibly pissed
6      off at Riot, tried to use their rage to get clicks without understanding what they were
       actually talking about and then EVEN THEY CALLED YOU OUT ON YOUR
7      DELUSIONS AND KICKED YOU OUT. I want to congratulate you, in all my years
       surfing the web, I had never met someone as cringe as you.
8
       Sun, 5 Jan 2025, 08:37            Squarespace <form-submission@squarespace.info>
9               liarliar@lies.com        You claim that there is a 100k views, but the tweet
       itself can't get even 5 likes and 3 comments, and it has not been retweeted by anyone
10     but you. Oh, and also, it only has around 75K views, and that's after you spent a week
       turbo-spamming it through all of Twitter, attaching yourself like the parasite you are
11
       to other artists. Things aren't adding up mate ðŸ¤¨ Given your fascination with AI, I'd
12     say it's more likely you are using bots.
       Sun, 5 Jan 2025, 14:39            Squarespace <form-submission@squarespace.info>
13              council@game.com.uk             So far, the only thing you have shown is that
14
       you are a transphobic, unimaginative author, siding with right-wing and openly racist
       accounts on Twitter, harming actual artists with the use of AI, and harassing content
15     creators (especially women)... but we are supposed to believe that you are the good
       guy fighting to protect 'smaller creators'??? Lmao. No. You are the one stealing and
16     plagiarizing from real creative people, clinging to their fame so you can promote your
17
       uninspiring, run-of-the-mill, ultra-generic novel. And the best part is that it doesn't
       even work. You can't even get to 500 followers.
18     Sun, 12 Jan 2025, 01:25           Squarespace <form-submission@squarespace.info>
                M.W.Wolf@we.com I'm sad you got suspended from Twitter, watching you
19     grovel for attention and soil yourself after getting none was one of my favorite
20     pastimes :( Please tell me if there is another account where I can follow your
       delusions.
21     Tue, 4 Mar 2025, 22:21            Squarespace <form-submission@squarespace.info>
                heyguesswhat@gmill.com Hey guess what? I just contacted Aaron J. Moss
22     and Lux and sent them all the screenshots I had saved of you offering money in
23     exchange for 'proof'; which, as you know since you tried to delete them, is illegal :)

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                                                      12
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                              MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12         Filed 04/06/25      Page 13 of 57 Page
                                                ID #:4058


1      This document compiles instances of threats, harassment, intimidation, and defamation received
2
       through various channels. The messages range from direct threats to personal safety, attempted
3
       blackmail, online stalking, and false legal accusations. These records are essential for legal
4
       action and should be presented to the appropriate authorities.
5

6                     Exhibit B- After I reported online abuse to the CIA

7

8
                      After I reported the online abuse to the CIA and others, I got interest from France
9
       (Fortiche Production), Hongkong (Tencent Games), San Miguel de Tucumán, Tucumán,
10
       Argentina (believed to be from Sean Marino who has sent me hate mail before and works for
11

12     Riot as an Associate Art Director on VALORANT. He seems to have an obsession with guns

13     and weapons), and Hendon, Barnet, United Kingdom (believed to be Jonny Geller).
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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                                MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM     Document 83-12     Filed 04/06/25   Page 14 of 57 Page
                                         ID #:4059


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           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                       MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12         Filed 04/06/25      Page 15 of 57 Page
                                                ID #:4060


1                     Exhibit C- Adrián Gimeno (Adri.Gimeño@live.com.es). Nov 2, 2024
2
                      Form Submission - Welcome To The Wolf Pack
3
                      External
4
                      Inbox
5

6

7                     Squarespace <form-submission@squarespace.info>
8
                      20:03 (16 minutes ago) (Last Submission Nov 2, 2024)
9
                      to me
10

11

12                    Sent via form submission from M.W. Wolf’s Megaverse

13

14
                      Email: Adri.Gimeño@live.com.es, accepts marketing: false
15

16
                      Message: If I were to send you Riot Games e-mails from feb 2013 commissioning
17

18     concept art for the Arcane pitch, along with the original scripts for ep 1 to 6, I would need

19     upfront payment, because then you will realize there is no plagiarism case that can be held in
20
       court, and I would have risked my reputation for nothing. Is gonna be the same for any artist that
21
       worked in that project
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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                               MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM      Document 83-12        Filed 04/06/25   Page 16 of 57 Page
                                          ID #:4061


1                 Evidence of submission -
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           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                           MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM           Document 83-12        Filed 04/06/25    Page 17 of 57 Page
                                               ID #:4062


1                    Context-
2
                     Adrian Gimeno worked on projects associated with Riot Forge. His LinkedIn has
3
       been removed since these proceedings began to heat up.
4

5

6                    Adrian Gimeno’s ArtStation page (https://www.artstation.com/artwork/8bWNKR)

7                    States:
8

9
                     “Riot Forge Games 2023 | The Year Ahead Trailer
10
                     Illustration for RIOT FORGE trailer.
11

12                   Teaser trailer with the characters of Nunu, Ekko and Sylas for The Mageseeker: A

13     League of Legends Story announcement and Convergence, Song of Nunu will be coming out in
14
       2023.
15
                     Credit to all the talented The Sequence Group people who made this trailer so
16
       amazing and to the art team for all the support and feedback!
17

18                   Art Direction: Andrew West”

19

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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                              MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM             Document 83-12        Filed 04/06/25     Page 18 of 57 Page
                                                 ID #:4063


1                     Exhibit D- Complaint about Sean Marino. (smarino@riotelax.com.ar)
2
                      (.com.ar is Argentina’s commercial domain extension.)
3
                      Complaint Date: Fri, 1 Nov 2024, 13:01
4

5

6                     Complaint about Sean Marino.

7                     Hate mail pressure and targeting my website- Complaint about Sean Marino.
8
                      This is a complaint about Sean Marino targeting my website with hate mail.
9
                      At 03:47 (8 hours ago), on the 1st of November 2024, I received the following
10
       email through my website.
11

12

13                    “Form Submission - Welcome To The Wolf Pack
14
                      Sent via form submission from M.W. Wolf’s Megaverse.
15
                      Email: smarino@riotelax.com.ar, accepts marketing: false
16
                      Message: Dude, you are the most unoriginal and dull author I've ever seen. You
17

18     even need ai to make your drawings. No wonder you are a failure. But trying to put the blame in

19     the actual creatives like Linke o Riot games is just pathetic.”
20
                      This is of major concern because I’m telling the truth about the IP theft of my
21
       work, and because of the past retaliation methods of doing business which Riot games are known
22
       for. This is also of concern because of the sabotage of the DOTA2 games website which allowed
23

24     Riot Games to monopolise the free-to- play market in the west. Also, employees at Riot Games

25     have a track record of retaliation via social media with hate mail to put pressure on people.
26

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                                                       18
            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                                MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM           Document 83-12        Filed 04/06/25      Page 19 of 57 Page
                                               ID #:4064


1      Moreover, I’m a person, you are a business which must uphold the law and ethical business
2
       practices.
3
                     This message was sent from the region of San Miguel de Tucumán, Tucumán,
4
       Argentina. Sean Marino, Art Lead on VALORANT weapons, has an awful lot of weapons in his
5

6      pictures. Almost obsessively. Given this and his seemingly diehard attraction to protecting

7      Linke’s name even in the face of the truth, I am worried that he might become violent when I
8
       have to attend court in LA.
9
                     Please could you file my complaint and take the necessary safety and ethical
10
       practice precautions to prevent any violence.
11

12                   Thank you,

13                   Marc Wolstenholme
14

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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                              MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM           Document 83-12        Filed 04/06/25     Page 20 of 57 Page
                                               ID #:4065


1                    A person from San Miguel de Tucumán, Tucumán, Argentina, has regularly
2
       (daily) been accessing my website and sending hate mail since this first message received on 1st
3
       of November 2024.
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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                              MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM       Document 83-12       Filed 04/06/25   Page 21 of 57 Page
                                           ID #:4066


1                 Sean Marino Linkin in profile say
2
                  “Sean Marino
3
                  Associate Art Director on VALORANT @ Riot Games
4
                  Los Angeles, California, United States
5

6                 Experience

7                 Riot Games
8
                  9 years 6 months
9
                  Associate Art Director”
10

11

12                Last visited:

13                “4/4/25, 2:57:07 AM-
14
                  186.158.30.54
15
                  Chronicles of The Megaverse
16
                  Location:
17

18                San Miguel de Tucumán, Tucumán, Argentina

19                Referrer:
20
                  www.mwwolf-fiction.co.uk/
21
                  Gecko(Firefox)
22
                  Mozilla/5.0 (Android 13; Mobile; rv:136.0) Gecko/136.0 Firefox/136.0”
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           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                          MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12      Filed 04/06/25     Page 22 of 57 Page
                                                ID #:4067


1                    Exhibit E- Gobelins (gobelinsletouzestoryboards@live.com.fr)
2

3
                     “Squarespace <form-submission@squarespace.info>
4
                     05:46 (5 hours ago)
5

6                    to me

7                    Sent via form submission from M.W. Wolf’s Megaverse
8
                     Email: gobelinsletouzestoryboards@live.com.fr, accepts marketing: false
9
                     Message: How much are you offering for information about your case against
10
       Arcane? I need money secured up front if I'm going to risk my job and breaking a nda.”
11

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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                             MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM           Document 83-12        Filed 04/06/25     Page 23 of 57 Page
                                               ID #:4068


1                     The email address gobelinsletouzestoryboards@live.com.fr appears to reference:
2

3
                      Gobelins: A renowned animation school in Paris, France with close links to
4
       Fortiche Production SAS, the French animation studio headquartered in Paris. It is known for the
5

6      hit television series Arcane.

7                     Letouze: Possibly referring to Camille Letouze, a director associated with
8
       Gobelins, who also worked for Fortiche.
9

10
                      Storyboards: Indicating a focus on storyboard creation.
11

12

13                    Camille Letouze worked on Arcane as a Storyboard Artist for Fortiche Production
14
       between Sep 2020 - Oct 2021 - 1 yr 2 months. This is the period of concern and copyright
15
       infringement. She now works for them again.
16

17

18                    “Fortiche Production

19                    Storyboard artist
20
                      septembre 2020 - octobre 2021 (1 an 2 mois)
21
                      Paris, France
22
                      Storyboard pour la série Arcane (Netflix)”
23

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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                               MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM     Document 83-12     Filed 04/06/25   Page 24 of 57 Page
                                         ID #:4069


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           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                       MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM           Document 83-12        Filed 04/06/25     Page 25 of 57 Page
                                               ID #:4070


1                    Exhibit F- L-bramou@gnail.com.fr,
2
                     Fri, 1 Nov 2024, 20:10
3

4
                     “Email: L-bramou@gnail.com.fr, accepts marketing: false
5

6                    Message: I have proof that Fortiche received the first pitch of Arcane on march

7      2012. That pitch already included the concept of shimmer (it was called madness potion), the
8
       blood drain, the scene at the bridge with dead parents and everything you mentioned. Is gonna
9
       be fun to watch you get laughed at in the court when there is at least 80 people with emails
10

11
       from 2 years earlier already making moves on production ��� �� but seriously go to

12     therapy.”
13
                     Whilst obviously a fake email, this person clearly has insider knowledge, unless
14
       again it’s the same spam and hate mail from Paris in France.
15
                     The sender claims:
16

17                   They have proof Fortiche received the first Arcane pitch in March 2012.

18                   That pitch included early versions of:
19
                     Shimmer (called “madness potion”)
20
                     Blood drain
21
                     Bridge scene with dead parents
22

23                   They suggest others ("80 people") have emails from 2 years before production.

24                   The tone is mocking, unprofessional, and ends with a personal insult.
25

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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                              MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12         Filed 04/06/25      Page 26 of 57 Page
                                                ID #:4071


1                     Suggests
2
                      Despite being a likely fake email, this message references very specific plot
3
       elements that align with what eventually appeared in Arcane. That could mean:
4
                      It’s someone with some genuine insider or adjacent industry knowledge and is
5

6      using non-related elements to build false timelines to intimidate the plaintiff. This aligns with

7      Riot’s treasured gateway policy of theft and backdating plausible deniability.
8
                      The emotional and hostile tone suggests it might not be a professional, but rather
9
       someone invested in discrediting another party — possibly part of an ongoing dispute or
10
       harassment campaign against the Plaintiff. The mention of Paris + Fortiche + Arcane + legal
11

12     tension makes this feel like a targeted message, not random spam.

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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                               MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM       Document 83-12       Filed 04/06/25    Page 27 of 57 Page
                                           ID #:4072


1                 Exhibit G- Fortiche
2
                  Fortiche looking at my website contact page on numerous times and dates.
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           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                         MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM     Document 83-12     Filed 04/06/25   Page 28 of 57 Page
                                         ID #:4073


1                 More Fortiche
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           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                       MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM              Document 83-12       Filed 04/06/25    Page 29 of 57 Page
                                                  ID #:4074


1                      SECTION II: COUNSEL MISCONDUCT & LEGAL INTIMIDATION
2
                       Counsel Misconduct & Legal Intimidation (2021–2025)
3
                       This section documents a consistent pattern of procedural manipulation,
4
       psychological pressure, and discriminatory conduct by Riot Games, Inc. and its legal counsel
5

6      aimed at discrediting and overwhelming a disabled pro se litigant. The word dismiss has been

7      threatened over and over so much that the Plaintiff has had nightmares about “Dismiss.” To say
8
       it’s a broken record is an understatement.
9
        Date & Time        Sender             Recipient(s)    Subject              Content Summary
10                                                                                 & Relevant
11
                                                                                   Details

12      Nov 28, 2021       Joshua Geller &    Marc            Pre-litigation       Warned Plaintiff
                           Aaron Moss         Wolstenholme    Threat               of 'extensive legal
13                                                                                 fees' and that the
14                                                                                 case would be
                                                                                   'kicked out.'
15                                                                                 Referenced in SAC
                                                                                   and Dkt 80.
16
                                                                                   Marked the start
17                                                                                 of an ongoing
                                                                                   pattern of
18
                                                                                   procedural
19                                                                                 intimidation.

20      Nov 28, 2021       Joshua Geller &    Marc            Weaponizing          Suggested
                           Aaron Moss         Wolstenholme    Mental Health        Plaintiff should
21
                                                                                   not proceed due
22                                                                                 to stress,
                                                                                   implying
23
                                                                                   litigation could
24                                                                                 harm his well-
                                                                                   being. This used
25
                                                                                   Plaintiff’s
26

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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                                  MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM         Document 83-12       Filed 04/06/25     Page 30 of 57 Page
                                             ID #:4075


1                                                                              disability as
                                                                               emotional
2
                                                                               leverage.
3
       Dec 17, 2024     Joshua Geller    Plaintiff & Co-   Clarification       Criticized Plaintiff
4                                        Counsel           Email               for having only
                                                                               filed a short
5
                                                                               complaint and
6                                                                              encouraged
                                                                               submission of a
7
                                                                               more detailed
8                                                                              one. Later
                                                                               reversed by
9
                                                                               attacking SAC as
10                                                                             too long in Dkt 80.
                                                                               Clear example of
11                                                                             procedural flip-
12                                                                             flopping.

13     Dec 31, 2024 –   Joshua Geller    Marc              Rule 7-3 Meet and   Described the
       22:23                             Wolstenholme,     Confer Email        Plaintiff’s
14
                                         Aaron Moss                            complaint as a
15                                                                             'short form,' told
                                                                               Plaintiff to
16                                                                             dismiss and refile,
17                                                                             and stated Riot
                                                                               'reserves the
18                                                                             right' to dismiss
                                                                               future complaints.
19
                                                                               Claimed: 'We do
20                                                                             not believe you
                                                                               will be able to
21
                                                                               state any viable
22                                                                             or cognizable
                                                                               claims.' Combined
23
                                                                               with planned
24                                                                             removal and
                                                                               dismissal filings,
25                                                                             this demonstrates
26

27
                                                   30
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                           MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM      Document 83-12        Filed 04/06/25    Page 31 of 57 Page
                                          ID #:4076


1                                                                           coercion,
                                                                            intimidation, and
2
                                                                            a dismissive tone
3                                                                           aimed at
                                                                            suppressing
4
                                                                            Plaintiff’s access
5                                                                           to justice.

6      Jan 5, 2025    Aaron Moss      Plaintiff        Futility Assertion   Allegedly stated
                                      (verbal)                              the case would
7
                                                                            'never survive
8                                                                           federal scrutiny.'
                                                                            Designed to
9
                                                                            dissuade Plaintiff
10                                                                          from pursuing his
                                                                            claim.
11
       Jan–Apr 2025   Riot Counsel    U.S. District    Dkts 80, 81, 82      Filed duplicative
12
                                      Court                                 motions
13                                                                          immediately
                                                                            before key
14
                                                                            deadlines for
15                                                                          settlement and
                                                                            discovery. Used
16                                                                          procedural tools
17                                                                          to overwhelm and
                                                                            suppress
18                                                                          discovery without
                                                                            addressing
19
                                                                            merits.
20
       Feb 14, 2025   Plaintiff       Self             Mental Health        Plaintiff
21                    (reported)                       Harm                 experienced
22                                                                          extreme sleep
                                                                            deprivation and
23                                                                          anxiety prior to a
                                                                            neurological
24
                                                                            evaluation due to
25                                                                          Riot’s ongoing

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                                                  31
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                           MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM        Document 83-12      Filed 04/06/25     Page 32 of 57 Page
                                            ID #:4077


1                                                                            pressure.
                                                                             Documented in
2
                                                                             Rule 26(f) Report.
3
       Feb 2025        Riot Counsel     Plaintiff        Misuse of           Riot’s filings and
4                                                        Settlement          refusal to engage
                                                         Process             in good-faith
5
                                                                             negotiations
6                                                                            increased
                                                                             Plaintiff’s anxiety.
7
                                                                             Further
8                                                                            emotional toll
                                                                             noted in Rule
9
                                                                             26(f).
10
       Feb 2025        Riot Counsel     Plaintiff &      Rule 26(f) Report   Riot attempted to
11                                      Court            Manipulation        insert language
                                                                             into the Joint Rule
12
                                                                             26(f) Report
13                                                                           without Plaintiff’s
                                                                             consent, including
14
                                                                             statements under
15                                                                           Plaintiff’s name.
                                                                             This violated
16                                                                           cooperative
17                                                                           drafting rules and
                                                                             misrepresented
18                                                                           Plaintiff’s legal
                                                                             position.
19

20     Dec 3, 2024 –   Joshua Geller    Marc             Refusal to Accept   Riot’s counsel
       23:07                            Wolstenholme,    Service             asserted that 'any
21                                      Aaron Moss                           attorney' would
22                                                                           confirm Plaintiff
                                                                             has no legal claim
23                                                                           — while also
                                                                             stating Plaintiff’s
24
                                                                             allegations stem
25                                                                           from a

26

27
                                                    32
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                           MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM       Document 83-12     Filed 04/06/25    Page 33 of 57 Page
                                           ID #:4078


1                                                                         'fundamental
                                                                          misunderstanding
2
                                                                          of the law.' This is
3                                                                         not only
                                                                          unsolicited legal
4
                                                                          advice from
5                                                                         opposing counsel,
                                                                          but also a
6
                                                                          strategic attempt
7                                                                         to discredit
                                                                          Plaintiff’s capacity
8                                                                         to litigate as a pro
9                                                                         se party. It falsely
                                                                          implies
10                                                                        incompetence,
                                                                          disregards
11
                                                                          Plaintiff’s actual
12                                                                        filings, and
                                                                          amplifies
13
                                                                          psychological
14                                                                        pressure.
                                                                          Additionally, Riot
15
                                                                          falsely claimed it
16                                                                        had not been
                                                                          served, causing
17                                                                        Plaintiff to pay
18                                                                        out of pocket for a
                                                                          process server.
19
       Nov 28, 2021   Joshua Geller    Marc            Cease and Desist   Riot’s counsel
20
                      (Greenberg       Wolstenholme    Letter             called Plaintiff’s
21                    Glusker)                                            claims 'legally and
                                                                          factually
22                                                                        baseless,'
23                                                                        suggested courts
                                                                          'invariably
24                                                                        dismiss' such
                                                                          cases, and stated
25
                                                                          that Riot would
26

27
                                              33
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                        MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM     Document 83-12     Filed 04/06/25    Page 34 of 57 Page
                                         ID #:4079


1                                                                       seek legal fees.
                                                                        The letter also
2
                                                                        invoked Plaintiff’s
3                                                                       own statements
                                                                        about stress,
4
                                                                        urging him to
5                                                                       'follow your own
                                                                        advice' and stop
6
                                                                        pursuing the
7                                                                       claim. Clear
                                                                        psychological
8                                                                       pressure,
9                                                                       procedural threat,
                                                                        and
10                                                                      discriminatory
                                                                        language. This
11
                                                                        letter marked the
12                                                                      first formal act of
                                                                        intimidation and
13
                                                                        gaslighting.
14                                                                      Described
                                                                        Plaintiff’s claims
15
                                                                        as misguided,
16                                                                      mocked
                                                                        comparisons as
17                                                                      'grossly
18                                                                      misrepresented,'
                                                                        and dismissed
19                                                                      entire legal
20
                                                                        theory without
                                                                        discovery.
21                                                                      Reinforced
                                                                        pattern of
22
                                                                        discouraging
23                                                                      access to justice
                                                                        for a disabled
24
                                                                        litigant.
25

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                                             34
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                       MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM        Document 83-12     Filed 04/06/25    Page 35 of 57 Page
                                            ID #:4080


1      Dec 8, 2021 –   Aaron J. Moss    Marc            False Claim That   Declared
       03:28                            Wolstenholme    Matter Is Closed   Plaintiff’s claims
2
                                        (cc: Joshua                        'meritless' and
3                                       Geller)                            'patently false on
                                                                           every count' with
4
                                                                           no explanation.
5                                                                          Asserted
                                                                           unilaterally that
6
                                                                           'we consider this
7                                                                          matter closed,'
                                                                           despite Plaintiff
8                                                                          never
9                                                                          withdrawing any
                                                                           claims. This is a
10                                                                         classic tactic of
                                                                           false finality
11
                                                                           designed to
12                                                                         gaslight the
                                                                           Plaintiff, obscure
13
                                                                           open legal issues,
14                                                                         and discourage
                                                                           pursuit of justice.
15
       Dec 3, 2024 –   Joshua Geller    Marc            Implied Legal     Riot’s counsel
16
       23:07                            Wolstenholme    Advice &          asserted that 'any
17                                      (cc: Aaron      Misrepresentation attorney' would
                                        Moss)                             confirm Plaintiff
18
                                                                          has no legal
19                                                                        claims, despite
                                                                          being opposing
20
                                                                          counsel. This
21                                                                        constitutes
                                                                          unsolicited legal
22                                                                        advice,
23                                                                        misrepresents the
                                                                          law, and
24                                                                        undermines
                                                                          Plaintiff’s
25
                                                                          autonomy.
26

27
                                               35
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                         MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM       Document 83-12     Filed 04/06/25    Page 36 of 57 Page
                                           ID #:4081


1                                                                         Additionally, Riot
                                                                          falsely claimed it
2
                                                                          had not been
3                                                                         served when
                                                                          Plaintiff had
4
                                                                          already
5                                                                         attempted
                                                                          service. This led
6
                                                                          to additional
7                                                                         costs for a
                                                                          process server
8                                                                         and exemplifies
9                                                                         procedural
                                                                          manipulation.
10
       Jan 9, 2025    Joshua Geller    Marc            Renewed Threat     Reiterated that
11                                     Wolstenholme    of Motion to       Riot would
12                                                     Dismiss            proceed with a
                                                                          motion to dismiss
13                                                                        under Rules
14                                                                        12(b)(6) and
                                                                          12(e), claiming
15                                                                        Plaintiff’s filing in
                                                                          state court was
16
                                                                          improper and
17                                                                        that no adequate
                                                                          complaint had
18
                                                                          been filed.
19                                                                        Framed the issue
                                                                          as Plaintiff’s
20
                                                                          failure to comply
21                                                                        with procedural
                                                                          rules, despite
22                                                                        earlier pressuring
23                                                                        Plaintiff to file a
                                                                          more detailed
24                                                                        complaint.
                                                                          Narrowed offer of
25
                                                                          discussion only to
26

27
                                              36
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                        MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM        Document 83-12     Filed 04/06/25     Page 37 of 57 Page
                                            ID #:4082


1                                                                           Riot’s planned
                                                                            motion, refusing
2
                                                                            to engage on
3                                                                           settlement or
                                                                            discovery.
4
                                                                            Further
5                                                                           intimidation
                                                                            through
6
                                                                            procedural
7                                                                           escalation.

8      Jan 7, 2025 –   Joshua Geller    Marc            Reasserted          Reiterated
       19:44                            Wolstenholme    Motion to Dismiss   procedural threat
9
                                                        & Restricted        from Dec 31,
10                                                      Dialogue            stating that
                                                                            Plaintiff had
11                                                                          'improperly filed'
12                                                                          the case in state
                                                                            court and had not
13                                                                          corrected
14                                                                          procedural
                                                                            defects. Stated
15                                                                          Riot would
                                                                            proceed with a
16
                                                                            motion to dismiss
17                                                                          and/or request
                                                                            for more definite
18
                                                                            statement under
19                                                                          Rules 12(b)(6)
                                                                            and 12(e). Offered
20
                                                                            to speak only
21                                                                          about the
                                                                            dismissal,
22                                                                          excluding
23                                                                          discussion on
                                                                            settlement or
24                                                                          evidence. This
                                                                            narrow, repetitive
25
                                                                            legal pressure
26

27
                                               37
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                         MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM         Document 83-12     Filed 04/06/25    Page 38 of 57 Page
                                             ID #:4083


1                                                                           was intended to
                                                                            intimidate and
2
                                                                            restrict dialogue.
3
       Jan 16, 2025 –   Joshua Geller    Marc            New Motion to      Following the
4      19:20                             Wolstenholme    Dismiss Threat –   filing of the
                                         (cc: Aaron      Amended            Amended
5
                                         Moss)           Complaint          Complaint, Riot
6                                                                           again threatened
                                                                            to move for
7
                                                                            dismissal under
8                                                                           Rule 12(b)(6),
                                                                            asserting Plaintiff
9
                                                                            failed to allege a
10                                                                          'plausible claim
                                                                            for relief.'
11                                                                          Reiterated claims
12                                                                          of preemption
                                                                            and procedural
13                                                                          bars. Tone
14                                                                          suggests
                                                                            inevitability of
15                                                                          dismissal.
                                                                            Narrowly focused
16
                                                                            communication
17                                                                          excludes all non-
                                                                            dismissal topics,
18
                                                                            reinforcing a
19                                                                          pattern of
                                                                            procedural threat
20
                                                                            escalation. The
21                                                                          language
                                                                            continues to
22                                                                          discredit
23                                                                          Plaintiff’s claims
                                                                            without engaging
24                                                                          with submitted
25

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27
                                                38
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                          MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM         Document 83-12     Filed 04/06/25     Page 39 of 57 Page
                                             ID #:4084


1                                                                            evidence or
                                                                             context.
2

3      Jan 18, 2025 –   Joshua Geller    Marc            Pre-Litigation      Outlined a
       17:16                             Wolstenholme    Threat: Dismissal   comprehensive
4                                        (cc: Aaron      with Prejudice      list of alleged
                                         Moss)                               deficiencies in the
5
                                                                             Amended
6                                                                            Complaint,
                                                                             concluding with a
7
                                                                             threat to seek
8                                                                            dismissal 'with
                                                                             prejudice.'
9
                                                                             Framed Plaintiff’s
10                                                                           legal claims as
                                                                             unfixable and
11                                                                           repeatedly cited
12                                                                           case law to
                                                                             intimidate rather
13                                                                           than engage.
14                                                                           Claimed Riot
                                                                             would pursue
15                                                                           permanent
                                                                             dismissal,
16
                                                                             reinforcing a
17                                                                           pattern of
                                                                             procedural
18
                                                                             aggression, and
19                                                                           attempted to
                                                                             preemptively
20
                                                                             undermine the
21                                                                           legitimacy of
                                                                             Plaintiff's
22                                                                           emotional
23                                                                           distress and
                                                                             copyright claims.
24

25

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           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                          MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM        Document 83-12     Filed 04/06/25    Page 40 of 57 Page
                                            ID #:4085


1      Feb 5, 2025 –   Marc             Aaron Moss,     Refusal to         Documented
       23:54           Wolstenholme     Andrew Lux,     Cooperate with     Riot’s attempts to
2
                       (Response to     Joshua Geller   Discovery          delay and limit
3                      Riot Counsel)                    Obligations        discovery through
                                                                           improper
4
                                                                           bifurcation and
5                                                                          refusal to provide
                                                                           development and
6
                                                                           financial records.
7                                                                          Highlighted
                                                                           strategic delays,
8                                                                          including Josh
9                                                                          Geller’s
                                                                           unexplained leave
10                                                                         and Christian
                                                                           Linke’s
11
                                                                           resignation,
12                                                                         which interfered
                                                                           with timely
13
                                                                           discovery. Alleged
14                                                                         violations of FRCP
                                                                           Rules 26(g) and
15
                                                                           37, and asserted
16                                                                         the right to
                                                                           compel discovery
17                                                                         and request
18                                                                         sanctions for
                                                                           obstruction and
19                                                                         noncompliance.
20
                                                                           Plaintiff further
                                                                           noted that Josh
21                                                                         Geller took an
                                                                           unexplained
22
                                                                           month-long leave
23                                                                         immediately after
                                                                           the Court
24
                                                                           rendered Riot’s
25                                                                         motions moot,

26

27
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           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                          MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM      Document 83-12      Filed 04/06/25    Page 41 of 57 Page
                                          ID #:4086


1                                                                         delaying case
                                                                          progress and
2
                                                                          communication.
3                                                                         Christian Linke,
                                                                          the show's writer,
4
                                                                          also reportedly
5                                                                         resigned during
                                                                          litigation, further
6
                                                                          complicating
7                                                                         discovery access.
                                                                          Together with the
8                                                                         closure of Riot
9                                                                         Forge and non-
                                                                          response to
10                                                                        discovery
                                                                          requests, these
11
                                                                          actions constitute
12                                                                        a coordinated
                                                                          pattern of delay
13
                                                                          and bad faith
14                                                                        litigation conduct.

15     Feb 14, 2025 –   Aaron Moss    Marc             Limiting           While framed as
       01:43                          Wolstenholme     Discovery &        cooperative, this
16
                                      (cc: Joshua      Misrepresenting    correspondence
17                                    Geller, Andrew   Cooperation        reinforced Riot’s
                                      Lux)                                plan to seek
18
                                                                          bifurcation of
19                                                                        discovery and
                                                                          reasserted
20
                                                                          procedural
21                                                                        limitations.
                                                                          Continued to
22                                                                        invoke the
23                                                                        registration
                                                                          requirement
24                                                                        despite its prior
                                                                          rejection by the
25
                                                                          court. Suggested
26

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                                               41
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                        MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM     Document 83-12     Filed 04/06/25    Page 42 of 57 Page
                                         ID #:4087


1                                                                       Plaintiff review
                                                                        procedural rules
2
                                                                        as if he were not
3                                                                       already
                                                                        complying, and
4
                                                                        sought to
5                                                                       characterize
                                                                        Plaintiff’s
6
                                                                        checklist as
7                                                                       informal and non-
                                                                        binding—
8                                                                       downplaying
9                                                                       Plaintiff’s good
                                                                        faith preparation
10                                                                      and legal
                                                                        diligence. The
11
                                                                        word 'dismiss' is
12                                                                      repeatedly used
                                                                        throughout the
13
                                                                        communication,
14                                                                      continuing a
                                                                        pattern of
15
                                                                        psychological
16                                                                      intimidation
                                                                        intended to
17                                                                      trigger fear of
18                                                                      case collapse.
                                                                        This tactic,
19                                                                      especially when
20
                                                                        directed at a pro
                                                                        se litigant, reflects
21                                                                      an abuse of
                                                                        procedural
22
                                                                        language to
23                                                                      unsettle rather
                                                                        than inform. It
24
                                                                        undermines fair
25                                                                      negotiation and

26

27
                                             42
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                       MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM           Document 83-12      Filed 04/06/25     Page 43 of 57 Page
                                               ID #:4088


1                                                                               further illustrates
                                                                                a refusal to
2
                                                                                engage
3                                                                               meaningfully with
                                                                                the merits of the
4
                                                                                Plaintiff’s case.
5
       2025-02-14              Aaron       Email            Misleading          During Rule 26(f)
6                       Moss / Rule                         Participation in    discussions,
                        26(f)                               Settlement          Aaron Moss
7
                                                            Conference          expressed
8                                                                               willingness to join
                                                                                settlement while
9
                                                                                admitting Riot
10                                                                              had no intention
                                                                                of settling,
11                                                                              undermining
12                                                                              court efficiency
                                                                                and imposing
13                                                                              undue stress on a
14                                                                              pro se litigant.

15     Mar 26, 2025 –   Joshua Geller /    Email Exchange   Persistent          Riot's counsel
       16:51 to 19:55   Marc               re: Settlement   Procedural          continued to
16                      Wolstenholme       & Protective     Pressure and        threaten
17                                         Orders           Refusal to Engage   dismissal (again
                                                            Fairly              citing FRCP 8 and
18                                                                              access),
                                                                                reiterated intent
19
                                                                                to bifurcate
20                                                                              discovery, and
                                                                                applied pressure
21
                                                                                for protective
22                                                                              orders. Plaintiff
                                                                                objected, citing
23
                                                                                bad faith and
24                                                                              public interest.
                                                                                Counsel's
25                                                                              language
26

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                                                   43
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                             MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM     Document 83-12     Filed 04/06/25    Page 44 of 57 Page
                                         ID #:4089


1                                                                       continued a
                                                                        pattern of
2
                                                                        procedural
3                                                                       escalation,
                                                                        invoking legal
4
                                                                        threats (e.g.,
5                                                                       bond, bifurcation,
                                                                        protective order)
6
                                                                        while minimizing
7                                                                       Plaintiff’s
                                                                        settlement rights.
8                                                                       Riot confirmed
9                                                                       they would not
                                                                        cancel the
10                                                                      settlement
                                                                        conference but
11
                                                                        also
12                                                                      mischaracterized
                                                                        Plaintiff’s position
13
                                                                        and pressured
14                                                                      confidentiality
                                                                        measures.
15
                                                                        Plaintiff declared
16                                                                      the original
                                                                        settlement offer
17                                                                      void due to
18                                                                      harassment and
                                                                        delay tactics. The
19                                                                      exchange ended
20
                                                                        with Plaintiff
                                                                        formally asking
21                                                                      Riot’s counsel to
                                                                        stop harassing
22
                                                                        him, after
23                                                                      expressing that
                                                                        the ongoing
24
                                                                        pressure and
25                                                                      procedural

26

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                                             44
           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                       MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM     Document 83-12     Filed 04/06/25    Page 45 of 57 Page
                                         ID #:4090


1                                                                       maneuvering had
                                                                        invalidated his
2
                                                                        original
3                                                                       settlement offer
                                                                        due to the stress
4
                                                                        and disruption it
5                                                                       caused.

6

7

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           EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                       MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12          Filed 04/06/25     Page 46 of 57 Page
                                                ID #:4091


1                     Appendix to Section II: Full Email Record – Aaron Moss (Dec 1, 2021)
2
                      The following is a complete copy of the email sent by Aaron J. Moss of
3
       Greenberg Glusker LLP to Plaintiff Marc Wolstenholme, included in Exhibit BB as evidence of
4
       counsel misconduct, intimidation, and refusal to mediate.
5

6

7                     Wed, 1 Dec 2021 at 03:06
8
                      Mr. Wolstenholme,
9
                      To be clear: Riot did not purchase or otherwise acquire any manuscripts from
10
       Austin Macaulay Publishers, Maximilian Ximenez, Sandra Dijkstra And Associates, Image
11

12     comics or any other third party. Aside from the fact that your assertions are the type of sheer

13     speculation and conjecture that cannot support a claim of access under the U.S. Copyright Act as
14
       a matter of law, the timeline indicated in your email demonstrates beyond any doubt that Riot
15
       simply could not have used your Manuscript to create “Arcane.”
16

17

18                    The “Arcane” story was conceived by Riot beginning in 2016. Production-ready

19     scripts of the first three episodes were completed in 2018. The scripts for the final episodes were
20
       completed by mid-2019. In other words, at the time you contend your manuscript was likely
21
       obtained (i.e., after Friday, September 18, 2020), all of the written material underlying the
22
       “Arcane” program had been long completed. And, as I previously noted, all of the main
23

24     characters, themes, settings and motifs in Arcane are a decade old.

25

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                                                       46
            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                               MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12         Filed 04/06/25      Page 47 of 57 Page
                                                ID #:4092


1                     Frankly, your assertions reflect a fundamental lack of understanding as to how
2
       long television production (especially animation) actually takes. It would be physically
3
       impossible for Riot to have acquired source material during 2020, created scripts based on that
4
       material, and then have that material animated and ready for exhibition by 2021. That’s simply
5

6      not how it works. Even you concede that the earliest Riot could have accessed your material was

7      at the end of 2019, which is already after the date that all of the scripts for “Arcane” had been
8
       completed and locked for production.
9

10
                      If required to do so in a court of law, Riot can easily corroborate these timelines,
11

12     given the hundreds if not thousands of people who were involved in the production of its series.

13     And to be clear, if you were to proceed with this matter in court, Riot would vigorously defend
14
       itself and, upon prevailing, would seek its attorneys’ fees and other available sanctions against
15
       you. There will be no mediation, out of court settlement, or bestowed credit at any time. Rather
16
       than continue to send emails, I strongly suggest that you speak with competent U.S. copyright
17

18     counsel who can properly explain the law to you as well as the risks you take by moving

19     forward. All of Riot’s rights and remedies are, of course, reserved.
20

21
                      Sincerely,
22
                      Aaron J. Moss
23

24                    Attorney at Law

25                    Greenberg Glusker LLP
26

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                                                       47
            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                                MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM             Document 83-12         Filed 04/06/25     Page 48 of 57 Page
                                                 ID #:4093


1                     SECTION III: Coordinated Social Media Intimidation, Misinformation &
2
       Harassment
3
                      Riot Games and individuals connected to its ecosystem—whether officially or
4
       unofficially—have engaged in a sustained campaign of intimidation, harassment, and
5

6      misinformation across multiple social media platforms.

7

8
                      This section outlines examples of:
9

10
                      Threatening and mocking messages sent to the Plaintiff via anonymous and
11

12     spoofed email accounts,

13

14
                      Coordinated efforts to discredit the Plaintiff publicly,
15

16
                      Psychological gaslighting that targeted the Plaintiff’s mental health, credibility,
17

18     and family,

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20
                      Apparent attempts to provoke public ridicule or induce emotional destabilization
21
       during critical litigation phases.
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28                                                MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12         Filed 04/06/25       Page 49 of 57 Page
                                                ID #:4094


1                     The volume, timing, and content of these messages—many of which include
2
       personal information and legal references—strongly suggest insider knowledge of the case, or
3
       active collaboration with individuals having access to non-public litigation updates.
4

5

6                     These patterns raise serious concerns about the safety of the Plaintiff, the integrity

7      of the legal process, and the misuse of public platforms to obstruct justice and intimidate
8
       litigants.
9

10
                      A. Evidence of Riot-Affiliated or Riot-Enabling Accounts Condoning Violence
11

12                    Among the most serious examples of social media misconduct are messages that

13     appear to condone or even threaten physical violence.
14

15
                      Several communications directed at Plaintiff include:
16

17

18                    November 12, 2024 – Bomb Threat: A message submitted via the Plaintiff’s

19     website contact form threatened to “send a bomb” to the Plaintiff’s residence. This was
20
       submitted from the email address “hah@haha.com” using the online portal from “M.W. Wolf’s
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       Megaverse.”
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             EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                                MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM             Document 83-12         Filed 04/06/25      Page 50 of 57 Page
                                                 ID #:4095


1                     November 14, 2024 – Threat of AI Exploitation: An anonymous message
2
       threatened to generate explicit AI content of the Plaintiff’s daughter unless he recanted his
3
       claims.
4

5

6                     November 16, 2024 – Entrapment Attempt: A message claiming to offer Riot's

7      “Arcane Bible” in exchange for $10,000 attempted to lure the Plaintiff into a criminal trap.
8

9
                      These examples are not random trolling. The level of personal detail, timing in
10
       relation to court events, and insider-like references suggest these messages are from individuals
11

12     with either direct or indirect connections to the case. Riot’s failure to publicly condemn this

13     conduct—especially after being informed of its occurrence—raises questions of corporate
14
       responsibility and ethical duty.
15

16
                      Failure to condemn, disavow, or investigate such actions when made aware of
17

18     them may constitute tacit approval. It further amplifies the pattern of psychological warfare

19     against the Plaintiff. These incidents support Plaintiff’s request for a protective order, sanctions
20
       for abusive litigation conduct, and potential intervention by regulatory or criminal authorities.
21
                      Full documentation of these threats appears in Exhibit BB: Harassment
22
       Chronology Table.
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28                                                MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12        Filed 04/06/25     Page 51 of 57 Page
                                                ID #:4096


1                    B. Riot Officials Condoning Violence
2
                     In addition to anonymous and third-party harassment, official representatives of
3
       Riot Games have engaged in or condoned behavior that glorifies violence, in a manner that is
4
       deeply inappropriate given their leadership roles and public influence.
5

6

7                    November 1, 2024 – Christian Linke’s Guillotine Comment: On the social media
8
       platform X (formerly Twitter), Christian Linke—Showrunner and Executive Producer of
9
       Arcane—publicly posted, “IONO ABOUT YOU ALL BUT I THINK IT’S TIME TO LET
10
       FORTICHE BRING BACK… THE FRENCH GUILLOTINE.” This comment, referencing state
11

12     executions, was not made in satire but in the context of heated online discourse about the

13     Plaintiff and Arcane. The comment remains unaddressed by Riot’s internal policies or public
14
       statements months after complaints have been made. Such behavior from an executive is
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       alarming and normalizes extreme rhetoric in fan communities.
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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                               MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12         Filed 04/06/25      Page 52 of 57 Page
                                                ID #:4097


1                     Moreover, Marc “Tryndamere” Merrill, around the same time, claimed that
2
       Christian Linke had resigned, amid backlash from online communities, which is rather
3
       suspicious seems as criminal fraud cases are likely to follow. However, now, just a few months
4
       later, Riot has announced that Christian Linke is still working for Riot, and he is now the
5

6      Director of Animation. This shows that Riot has no willingness to settle these matters, and it still

7      harbors the main (Bro-mancing) conspirators of IP theft.
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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                               MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12        Filed 04/06/25      Page 53 of 57 Page
                                                ID #:4098


1                     November 16, 2024 – Tryndamere Retweets Gun-to-Head Image: Riot co-founder
2
       Marc “Tryndamere” Merrill retweeted an image of an individual holding a real firearm to their
3
       own head. The timing and content were chilling given the concurrent harassment against the
4
       Plaintiff. Riot has made no public effort to distance itself from the image or explain why an
5

6      executive would amplify such dangerous content during active litigation.

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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                               MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM             Document 83-12         Filed 04/06/25      Page 54 of 57 Page
                                                 ID #:4099


1                     These instances, coupled with Riot’s silence in the face of threats and
2
       intimidation, illustrate a systemic culture of toxicity and disregard for ethical standards of
3
       communication. It further reinforces the Plaintiff’s position that Riot executives and affiliates
4
       have helped shape a retaliatory and hostile public environment.
5

6

7                     The Plaintiff respectfully requests that the Court take note of these actions as
8
       additional justification for protective orders, discovery into Riot’s internal communications, and
9
       further inquiry into misconduct that extends beyond the courtroom and into Riot's public
10
       conduct.
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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                                MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM            Document 83-12         Filed 04/06/25      Page 55 of 57 Page
                                                ID #:4100


1                     CONCLUSION
2
                      The pattern of misconduct outlined in this exhibit—ranging from threatening legal
3
       correspondence, procedural manipulation, and exploitative settlement tactics, to coordinated
4
       online harassment and the condoning of violent rhetoric by Riot-affiliated individuals—reflects a
5

6      broader strategy not of defense, but of suppression and aggression.

7

8
                      This strategy has imposed emotional, financial, and psychological burdens on a
9
       disabled pro se litigant, and undermined the integrity of these proceedings. What began as a
10
       legitimate copyright and misappropriation claim has been repeatedly derailed by tactics that seek
11

12     to exhaust rather than resolve. Rather than engage in the merits of the case, Riot Games and its

13     legal representatives have engaged in conduct that arguably violates both the spirit and letter of
14
       procedural fairness.
15

16
                      The Plaintiff presents this chronology not only to seek accountability, but to
17

18     respectfully request the Court’s attention to the systemic nature of the harm suffered. This

19     includes:
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                      Consideration for protective measures under the Court’s inherent authority;
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24                    Application of cost-shifting or sanctions under 28 U.S.C. § 1927 or Rule 11;

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28                                               MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM              Document 83-12      Filed 04/06/25     Page 56 of 57 Page
                                                  ID #:4101


1                     Judicial acknowledgment that this conduct may prejudice not only this case but
2
       future access to justice for vulnerable litigants.
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4
                      Plaintiff reiterates his commitment to lawful resolution, discovery compliance,
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6      and the pursuit of a just outcome. But the integrity of that process must be protected—from both

7      external harassment and internal abuse of process.
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            EXHIBIT BB: CHRONOLOGY OF HARASSMENT, THREATS, AND INTIMIDATION, COUNSEL
28                                                 MISCONDUCT.
     Case 2:25-cv-00053-FMO-BFM              Document 83-12      Filed 04/06/25      Page 57 of 57 Page
                                                  ID #:4102


1                     Declaration
2
                      I declare under penalty of perjury under the laws of the United States that the
3
       foregoing is true and correct.
4

5

6                     Executed on April 06, 2025, in Coventry, England.

7                     Respectfully submitted,
8

9
                      Signature:
10

11

12                    Marc Wolstenholme

13                    Plaintiff in Pro Per
14
                      5 Shetland Close
15
                      Coventry, England CV5 7LS
16
                      marc@mwwolf-fiction.co.uk
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28                                               MISCONDUCT.
